Case 3:21-cv-00259-DCG-JES-JVB Document 393-3 Filed 07/01/22 Page 1 of 3




                 EXHIBIT
                   1
 Case:3:21-cv-00259-DCG-JES-JVB
Case    22-50435    Document: 00516365129   Page: 1FiledDate
                                  Document 393-3             Filed: 06/21/2022
                                                         07/01/22    Page 2 of 3




                                  No. 22-50435

          In the United States Court of Appeals
                  for the Fifth Circuit
           La Union Del Pueblo Entero, Et al,
                              Plaintiffs
                            v.
Gregory W. Abbott, in his Official Capacity as Governor of
                       Texas, Et al,
                              Defendants

  LULAC Texas; Vote Latino; Texas Alliance for Retired
    Americans; Texas AFT; United States of America,
                            Plaintiffs-Appellees
                            v.
Senator Bryan Hughes; Senator Paul Bettencourt; Briscoe
    Cain, Texas Representative; Andrew Murr, Texas
                    Representative,
                            Appellants.

               On Appeal from the United States District Court
           for the Western District of Texas, San Antonio Division

                 APPELLANTS’ OPENING BRIEF

 Ken Paxton                              Judd E. Stone II
 Attorney General of Texas               Solicitor General
 Brent Webster                           Lanora C. Pettit
 First Assistant Attorney General        Principal Deputy Solicitor General
                                         Lanora.Pettit@oag.texas.gov
 Office of the Attorney General
 P.O. Box 12548 (MC 059)                 William F. Cole
 Austin, Texas 78711-2548                Assistant Solicitor General
 Tel.: (512) 936-1700
 Fax: (512) 474-2697                     Counsel for Appellants
  Case:3:21-cv-00259-DCG-JES-JVB
  Case  22-50435    Document: 00516365129   Page: 28
                                   Document 393-3  FiledDate Filed: 06/21/2022
                                                         07/01/22   Page 3 of 3




    The State Legislators noticed this appeal on May 26. ROA.10450-51. Counsel
for the parties conferred and agreed that, to ensure an orderly appellate process,
plaintiffs would not oppose a stay pending appeal, and the Legislators would not op-
pose a request to expedite that appeal. ROA.10458-60. The district court reluctantly
granted that motion. ROA.10461-62. But it threatened to impose sanctions if the

Legislators do not prevail on appeal, stating that “assuming that the Court of Ap-
peals finds that the vast majority of documents are in fact not privileged, this Court
may impose sanctions as required by Fed. R. Civ. P. 26(g).” See ROA.10461.

                         Summary of Argument
    I.   The legislative privilege shields legislators from discovery in private, civil
litigation into the motives for their legislative acts. Helstoski, 442 U.S. at 489; Tenney,
341 U.S. at 376. Three of this Court’s sister circuits have held that the legislative
privilege protects state legislators from any such third-party discovery seeking to
probe individual legislators’ intent in passing legislation. Alviti, 14 F.4th at 88-90;
Lee, 908 F.3d at 1186-88; Hubbard, 803 F.3d at 1311-12. Application of those prece-
dents should have led to the denial of plaintiffs’ motion to compel. There is no dis-

pute here that plaintiffs’ third-party discovery aims to discover the Legislators’ in-
dividual motivations regarding the passage of S.B. 1. See ROA.9096-97. And, as in
Alviti, Lee, and Hubbard, neither plaintiffs’ claim under section 2 of the Voting

Rights Act—nor any of the others—depends on upon proving, with direct evidence,
discriminatory intent of these four Legislators who may not represent the intentions
of the Legislature as a whole.



                                            16
